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 1   TORRES | TORRES STALLINGS AND ASSOCIATES
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 5
     Attorney for:
 6   BANDAR SALEH ALNAGGAR
 7                                    UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                          Case No. 18-CR-00135 DAD-BAM
11                       Plaintiff,
12            v.                                         AMENDED STIPULATION AND ORDER TO
                                                         CONTINUE THE STATUS CONFERENCE
13    BANDAR SALEH ALNAGGAR,
14                       Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE BARBARA
17   MCAULIFFE AND GRANT RABENN, ASSISTANT UNITED STATES ATTORNEY:
18          COMES NOW Defendant, BANDAR ALNAGGAR, by and through his attorney of

19   record, DAVID A. TORRES hereby requesting that the status conference hearing currently set for

20   September 14, 2020, to be continued to December 14, 2020.

21          AUSA Rabenn and I have engaged in numerous discussions regarding the above-

22   captioned matter. There are several obstacles which have prevented the defendant from

23   proceeding with a plea agreement. A counter-offer has been made. AUSA Rabenn noted that

24   additional time is necessary to convey and discuss said counter-offer with his supervisors. In

25   additions, could is requiring time to review an offer and investigate the facts of the case related to

26   the offer. Defendant Al-naggar is prepared to exclude time to December 14, 2020.

27          The parties also agree the delays resulting from the continuance shall be excluded in the

28   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1) and (I)(V) because it
                                                        1
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 1   results from a continuance granted by the Court at defendants request in the basis of the Courts

 2   finding that the ends of justice served by taking such action outweigh the best interest od the

 3   public and the defendant in a speedy trial act.

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            IT IS SO STIPULATED.
 6                                                                Respectfully Submitted,
     DATED: September 8, 2020                                     /s/ David A Torres      ___
 7                                                                DAVID A. TORRES
                                                                  Attorney for Defendant
 8
                                                                  BANDAR SALEH ALNAGGAR
 9

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11   DATED: September 8, 2020                                     /s/Grant Rabenn ________
12                                                                GRANT RABENN
                                                                  Assistant U.S. Attorney
13

14
                                                   ORDER
15
            IT IS SO ORDERED that the Status Conference is continued from September 14, 2020, to
16
     December 14, 2020, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is
17
     excluded pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1) and (I)(V).
18
     IT IS SO ORDERED.
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20      Dated:     September 8, 2020                          /s/ Barbara A. McAuliffe                 _
                                                        UNITED STATES MAGISTRATE JUDGE
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